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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALEKSANDAR ZUNZUROVSKI,
                                 Plaintiff,

                     -against-
                                                                   24-cv-5958 (AS)
 DESMOND C. FINGER, NICK VALENTINE,
 MARIA KATZ, JOHN LOUKAS, JIMMY
 KIM, MICHAEL MUELLER, AND MIKE                                OPINION AND ORDER
 DOBRONSKI,
                                 Defendants.



ARUN SUBRAMANIAN, United States District Judge:

       Zunzurovski sued defendants Finger, Valentine, Katz, Loukas, Kim, Mueller, and
Dobronski on June 12, 2023 for unjust enrichment. He claimed that an arbitrator’s award unfairly
held him solely responsible for the abuse of female employees at the Sapphire Club, when
defendants also were involved. See Dkt. 26 at 7. The Court dismissed this complaint with prejudice
on February 28, 2024, holding that Zunzurovski was “found liable for breaching his own fiduciary
duty to” his employer and that the arbitral award was not imposed “at [d]efendants’ behest or for
[d]efendants’ benefit.” Zunzurovski v. Finger, 2024 WL 836481, at *4 (S.D.N.Y. Feb. 28, 2024).
Zunzurovski filed no appeal from the Court’s dismissal of his case.

        Just three months later, Zunzurovski sued the same defendants about the same arbitral
award based on the same underlying dispute—but this time in state court. The only difference in
the two almost identical complaints is that instead of an unjust enrichment theory, plaintiff now
pursues a contribution claim based on joint and several liability. Dkt. 1-1 ¶¶ 53–63. Defendants
promptly removed the new case, and so now Zunzurovski is back before the Court. Same parties,
same dispute, slightly different legal theory. Defendants move to dismiss, arguing that the new
lawsuit is barred under the doctrine of claim preclusion, also known as res judicata. They are right.

        “A court may consider a res judicata defense on a Rule 12(b)(6) motion to dismiss when
the court’s inquiry is limited to the plaintiff’s complaint, documents attached or incorporated
therein, and materials appropriate for judicial notice.” TechnoMarine SA v. Giftports, Inc., 758
F.3d 493, 498 (2d Cir. 2014). Among the “materials appropriate for judicial notice” are the Court’s
“own records.” Id. at 498–99 (quoting Day v. Moscow, 955 F.2d 807, 811 (2d Cir. 1992)). To
prove claim preclusion, defendants must show “1) the previous action involved an adjudication on
the merits, 2) the previous action involved the plaintiffs or those in privity with them, and 3) the
claims asserted in the subsequent action were, or could have been, raised in the prior action.”
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Monahan v. N.Y.C. Dep’t of Corr., 214 F.3d 275, 285 (2d Cir. 2000). Each of these requirements
is easily met here.

        First, the Court’s dismissal of Zunzurovski’s 2023 complaint for failure to state a claim
was an “adjudication on the merits.” See Berrios v. N.Y.C. Hous. Auth., 564 F.3d 130, 134 (2d Cir.
2009) (“[D]ismissal for failure to state a claim is a final judgment on the merits and thus has res
judicata effects.”); Exch. Nat’l Bank of Chi. v. Touche Ross & Co., 544 F.2d 1126, 1130–31 (2d
Cir. 1976) (holding that “judgments under Rule 12(b)(6) are on the merits, with res judicata
effects”). Second, Zunzurovski was the plaintiff in both cases, so the “previous action involved
the plaintiff[].” Monahan, 214 F.3d at 285. And finally, Zunzurovski had every opportunity to
raise the contribution claim during his previous go-around. He argues that res judicata does not
apply because his new complaint includes “a distinct set of facts and legal theories than those
presented in the previous case,” Dkt. 30 at 10, but he “cannot avoid the preclusive effect of res
judicata by asserting a new theory or a different remedy.” Brodsky v. N.Y.C. Campaign Fin. Bd.,
796 F. App’x 1, 6 (2d Cir. 2019) (quoting Brown Media Corp. v. K&L Gates, LLP, 854 F.3d 150,
157 (2d Cir. 2017)). Nor does Zunzurovski’s new complaint plead any “distinct” facts. The section
of the complaint entitled “Nature of Action and Factual Allegations” is copied almost word for
word from the dismissed complaint. Dkt. 1-1 ¶¶ 39–52. The only difference is that “Unjust
Enrichment” has been replaced with “Contribution and Indemnification.” There’s nothing new in
this complaint except for a legal theory that Zunzurovski could have, but did not, raise last time.
He cannot come back for another try now.

        Defendants want the Court to enjoin plaintiff from suing again. Dkt. 29 at 9; Dkt. 26 at 14
n.4. Having considered the five factors in Safir v. United States Lines, Inc., 792 F.2d 19, 24 (2d
Cir. 1986) and the Second Circuit’s instruction that such an injunction requires “extraordinary
circumstances,” Eliahu v. Jewish Agency for Israel, 919 F.3d 709, 714 (2d Cir. 2019) (quoting
Richardson Greenshields Sec., Inc. v. Mui-Hin Lau, 825 F.2d 647, 652 (2d Cir. 1987)), the Court
declines to issue an anti-suit injunction. But Zunzurovski and his counsel are cautioned that
litigants are expected to have an “objective good faith expectation of prevailing” when they sue.
Safir, 792 F.2d at 24.

         Finally, Zunzurovski seeks leave to amend. Dkt. 30 at 16–18. If allowed to do so, he says,
he will “place detailed facts on the record” and “ensure that every cause of action that can be
brought is raised.” Id. at 17. Just like last time, Zunzurovski had the opportunity to amend without
leave from the Court in the 21 days after the motions to dismiss were served. See Fed. R. Civ. P.
15(a)(1)(B). And just like last time, he didn’t. Furthermore, the Court’s Individual Practices require
that if a non-moving party wants to amend after a motion to dismiss is filed, it must “within 10
days of receipt of the motion[] notify the Court and its adversary” about its intention to amend.
Zunzurovski didn’t do this either. The Individual Practices state that “declining to amend” through
these procedures “may constitute a waiver of [the] right to later use the amendment process,” and
Zunzurovski’s choice not to engage in this process is one reason to deny leave to amend now.


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Zunzurovski also gives the Court no reason to think that amendment would be anything but futile.
He does not say what new facts could be added to an amended complaint, nor does he mention any
new causes of action he wants to raise. Under such circumstances, when the Court finds that
“amendment would be futile,” “denial [of leave to amend] is proper.” D. Penguin Bros. v. City
Nat’l Bank, 587 F. App’x 663, 669 (2d Cir. 2014).

        For these reasons, the complaint is dismissed with prejudice. The Clerk of Court is directed
to terminate the motions at Dkts. 25 and 28 and close the case.

       SO ORDERED.

Dated: November 8, 2024
New York, New York



                                                                ARUN SUBRAMANIAN
                                                                United States District Judge




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